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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KRISTINA TRAVIS, individually and on                 :       CIVIL ACTION
behalf of all others similarly situated              :
                                        Plaintiff    :       NO. 5:21-cv-05395-JLS
                                                     :
        vs.                                          :
                                                     :
STATE AUTOMOBILE MUTUAL                              :
INSURANCE COMPANY, INC., d/b/a                       :
STATE AUTO INSURANCE COMPANIES;                      :
MILBANK INSURANCE COMPANY; and                       :       JURY TRIAL DEMANDED
JANE DOES 1-10                                       :
                            Defendants               :


    REPLY MEMORANDUM IN SUPPORT OF STATE AUTO AND MILBANK’S
   MOTION TO DISMISS PLAINTIFF’S AMENDED CLASS ACTION COMPLAINT

        As detailed below, Plaintiff avoids any meaningful response to Defendants’ arguments for

dismissal and retreats from the key allegations of her Amended Complaint (the “Complaint”).

        1. Plaintiff Cannot Point to any Facts Supporting her “Illusory Coverage” Claim

        Plaintiff’s theory of the case is that Defendants engaged in a scheme to deceive Plaintiff

and the Class by using a website portal (the “Connect Platform”) to fraudulently induce

policyholders and their brokers into purchasing what Plaintiff repeatedly describes as “phantom”

or “illusory” insurance coverage. (Compl., Dkt. 16, at ¶¶ 1, 31, 56, 60, 63, 64, 105, 112, 115, 127,

132, 134, 145, 149, 158, 188; Plaintiff’s Response, Dkt. 21, at 8, 9, 10, 11, 16, 24, 32.) According

to Plaintiff, the coverage she purchased was “illusory” and of “no value” (Dkt. 21, at 10) because

State Auto had a “Cap Policy” which limited B, D, and E insurance coverages to those coverages

already included with the purchase of Section A coverage (i.e., 10% of Section A coverage for

Section B coverage and 20% of Section A for Sections D and E). Plaintiff alleges that when her

broker checked off the B, D, and E boxes on the Connect Platform, Plaintiff paid increased
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premiums “without any corresponding enlargement of coverage or increased risk to Defendants.”

(Dkt. 16, ¶5.) Plaintiff’s claim is summarized in her allegation that “the Cap Policy made the

coverage illusory.” (Dkt. 16, ¶56.)

       Plaintiff’s theory of the case is fatally flawed because it is contrary to the plain terms of

the Policy. Sections F.1 and F.5 of the Policy show that initial coverage is provided for Other

Structures, Fair Rental Value, and Additional Living Expenses under Coverage A in accordance

with the stated liability limits (10% of A for B and 20% of A for D and E). (Dkt. 16-3, at 19-20.)

The Policy also allows for additional B, D, and E coverages to be purchased for an additional

premium. (See Dkt. 16-3, at 18-19.) There is no provision in the Policy and there are no facts

alleged in the Complaint supporting the conclusion that coverage is “capped” at the initial amounts

set forth in Sections F.1 and F.5 of the Policy. The Declaration Pages which Plaintiff alleges were

part of the deception say nothing about a cap on coverage, and the new Declaration Pages which

Plaintiff finds acceptable do nothing more than to list the other coverages set forth in Section F of

the Policy. (Dkt. 19-1 at 3.) Importantly, Plaintiff does not allege that she submitted a claim under

her B, D, and E coverages, let alone that Millbank capped any payments to her. Because Plaintiff’s

entire Complaint is predicated on Defendants’ alleged scheme to induce Plaintiff and the Class to

pay for “illusory” coverage resulting from the Cap Policy and because not one fact is alleged in

support of those conclusions, Defendants argued that the Complaint must be dismissed.

       In her Response, Plaintiff struggles to avoid dismissal and retreats from her claim that she

was duped into paying for coverage that was illusory because of the Cap Policy. Ignoring the many

conclusory allegations in the Complaint on this topic, she now contends that whether Defendants

employed a “Cap Policy” is “irrelevant.” (Dkt. 21, at 9.) She argues that the scheme could have

been successful even without the Cap Policy and that “the existence of the Cap Policy is a purely

extraneous issue at this stage.” (Id.) But that is contrary to what Plaintiff has alleged – the Cap

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Policy and the “illusory” coverage (supposedly created as a result of the Cap Policy) are at the

heart of the Complaint and are the basis of the allegations of wrongdoing against Defendants.

Indeed, Plaintiff alleged that Coverages B, D, and E were illusory because of the Cap Policy. (Dkt.

16, ¶56.) In any event, Plaintiff’s key allegations consist entirely of unsupported conclusions, as

Plaintiff’s Response implicitly concedes and, as a result, the Complaint fails to state a cause of

action and must be dismissed. (See also discussion in Dkt. 19, at 7-14.)

       2. Plaintiff Does Not Overcome the Legal and Factual Shortcomings of her Civil
          RICO Claim (Counts I and II).

               a. Plaintiff Still Fails to Make Out an Association-In-Fact Enterprise

       Plaintiff offers nothing to bolster her bald assertion that a cognizable enterprise exists.

Plaintiff argues that the association-in-fact enterprise in this case consists of Milbank and/or one

or more of the Jane Doe individuals (who are alleged to be employees of State Auto) acting

together as a “distinct enterprise.” (Dkt. 16, at 126; Dkt. 21, at 22.) But Plaintiff still provides no

facts indicating any type of coordination among Milbank or the Jane Doe individuals, as is required

to allege a RICO enterprise. See Kennedy v. Equifax, 2019 WL 1382649, at *3 (E.D. Pa. March

27, 2019) (setting forth elements needed to allege a RICO enterprise). The Supreme Court warned

of such insufficient allegations:

       It is easy to envision situations in which proof that individuals engaged in a pattern
       of racketeering activity would not establish the existence of an enterprise. For
       example, suppose that several individuals, independently and without coordination,
       engaged in a pattern of crimes listed as RICO predicates—for example, bribery or
       extortion. Proof of these patterns would not be enough to show that the individuals
       were members of an enterprise.

Boyle v. United States, 556 U.S. 938, 947, n. 4 (2009). The same is true here. Plaintiff offers no

facts regarding any actual communications among the alleged enterprise’s members, the

enterprise’s structure, their roles, or how the enterprise – as opposed to its individual members –

was involved in the so-called predicate acts.


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       Plaintiff also fails to show that State Auto (the named Defendant in RICO counts) is

sufficiently distinct from the “enterprise” allegedly formed by Milbank and the Jane Does to have

conducted it within the meaning of section 1962(c). Plaintiff fails to distinguish the cases cited by

Defendants holding that a corporation “is not distinct from its subsidiaries, relatives, agents, and

affiliates for the purposes of § 1962(c),” Blue Cross Blue Shield Association v. GlaxoSmithKline

LLC, 417 F. Supp. 3d 531, 562 (E.D. Pa. Sept. 30, 2019)(internal citation and quotation marks

omitted); that “[a] RICO claim under section 1962(c) is not stated where the subsidiary merely

acts on behalf of, or to the benefit of, its parents,” Lorenz v. CSX Corp., 1 F.3d 1406, 1412 (3d Cir.

1993); and that “a corporation acting in tandem only with its employees cannot form a RICO

enterprise and be a distinct ‘person’ who conducts the affairs of that enterprise.” Mega Concrete,

Inc. v. Smith, 2013 WL 3716515, at *13 (E.D. Pa. July 15, 2013)(noting that “the corporation,

which can act only through its employees, is truly both enterprise and person, and a claim against

it cannot satisfy §1962(c)’s distinctiveness requirement,” citing, among other cases, Gasoline

Sales Inc. v. Aero Oil Co., 39 F.3d 70, 73 (3d Cir. 1994).)

       Plaintiff’s attempt to explain away these cases is unsuccessful. Although Plaintiff argues

that Defendants’ citation of Mega Concrete “completely misses the mark” because the court found

that plaintiff sufficiently pled the existence of an enterprise (Dkt. 21, at 23), Plaintiff ignores the

court’s critical finding that: “In contrast to the intra-corporation enterprises discussed in Gasoline

Sales and the other above circuit court precedent, the Smith Enterprise involves a third-party

member who does not come within the other members’ corporate sphere.” Mega Concrete, 2013

WL 3716515, at *13. The inclusion of the third party in the enterprise gave the court “at least

reason to doubt that distinctiveness concerns defeat Mega’s RICO claim against them.” Id. Here,

in contrast to Mega Concrete, the alleged enterprise does not include any third-party members

outside the corporate sphere of State Auto and distinctiveness concerns do defeat Plaintiff’s claim.

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       Plaintiff’s attempt to distinguish Lorenz, Gasoline Sales, and Blue Cross Blue Shield on

the basis that they involved only corporate defendants is equally unavailing. Plaintiff’s Section

1962(c) RICO claim is against State Auto and the ten Jane Does. Defendants’ Motion to Dismiss

seeks to have State Auto – a corporate defendant – dismissed from that claim. Since a corporation

is not distinct from its subsidiaries or employees for the distinctiveness purposes of Section

1962(c), it must be dismissed from Count I.

               b. Plaintiff implicitly concedes the failure to allege a predicate act

       Plaintiff does not even attempt to grapple with the fact that her conclusory allegations are

contradicted by the provisions of the Policy explaining the various coverages. As discussed above,

she deals with the illusory coverage/cap issue by dismissing the allegations at the center of her

Complaint as “irrelevant” and “extraneous.” Plaintiff also fails to shed any light on how the alleged

acts of wire fraud or mail fraud took place, including whether email or the U.S. Postal Service or

private or commercial interstate carriers were used (as required for mail fraud). Plaintiff’s failure

to describe the predicate acts of mail and wire fraud with the degree of particularity required by

Rule 9(b) requires dismissal of the RICO claims.

               c. Plaintiff cannot show an injury to her business or property, let alone
                  establish that State Auto’s conduct proximately caused that injury.

       Defendants’ Motion to Dismiss argues that Plaintiff fails to allege any facts showing an

injury to her business or property or that State Auto’s conduct was the proximate cause of that

injury. (Dkt. 19, at 21-22.) Dodging the issue, Plaintiff protests that this “fact-based argument”

ignores and contradicts the “facts” in the Complaint. (Dkt. 21, at 24-25.) But there are no factual

allegations that Plaintiff failed to receive the coverages for Other Structures or Fair Rental and

Additional Living Expense (B, D, and E) included under Section F, and there are no factual

allegations that she failed to receive the additional B, D, and E coverages which Plaintiff describes



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as illusory. Nor does Plaintiff point to any provision in the Policy or in any statute or regulation

which would render illusory the additional premiums that she paid for B, D, and E coverages. The

argument the Defendants are making is based on Plaintiff’s failure to allege any facts in support

of her claim that State Auto injured her by inducing her to purchase illusory insurance coverage

issued by Millbank. In the absence of such facts, the RICO claim should be dismissed.

               d. Plaintiff’s Conspiracy Argument is Meritless

       Plaintiff does not dispute that if her Section 1962(c) claim fails, her Section 1962(d) claim

also fails. Even if Count I somehow survives, the conspiracy count should fall since “[t]he majority

of courts within the Circuit agree that a corporation cannot conspire with its agents and/or

employees under § 1962(d) of RICO.” District 1199P Health and Welfare Plan v. Janssen, L.P.,

2008 WL 5413105, at *14 (D.C.D. New Jersey Dec. 23, 2008) (collecting cases); Castle v. Crouse,

2004 WL 257389, at *6 (E.D. Pa. Feb. 11, 2004) (concluding that a corporate entity cannot

conspire with its employees). Plaintiff ignores the most recent authority in the Third Circuit on

this issue (the case Plaintiff cites was decided in 1996), and instead chooses to rely on an Eleventh

Circuit case for the proposition that the “favored view” is that the intra-corporate doctrine does not

apply to violations of Section 1962(d). (Dkt. 21, at 26, citing Kirwin v. Price Commc’ns Corp.,

391 F.3d 1323, 1326-27 (11th Cir. 2004).) Although Kirwin observes that the circuits have divided

on this question, nowhere does it say that non-application of the doctrine is the “favored” view.

And the U.S. Supreme Court decision in Cedrick Kushner Promotions, Ltd. v. King, 533 U.S. 158

(2001), also cited by Plaintiff, did not specifically address this issue under RICO; it simply

construed the distinctiveness requirement to hold that defendant Don King was a person distinct

from his corporation which was alleged to be the enterprise.

       Finally, Plaintiff’s attempt to transform its conclusory allegations into factual allegations

sufficient to support a conspiracy fails. The case from the Southern District of New York Plaintiff


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cites on this this topic shows that actual facts must be alleged to support the inference of a

conspiracy. Angermeir v. Cohen, 14 F. Supp. 3d 134, 155 (S.D.N.Y March 27, 2014). No such

facts are alleged here, and Plaintiff’s conspiracy claim should be dismissed.

       3. Plaintiff’s Claims for Breach of Contract and the Implied Covenant of Good
          Faith and Fair Dealing Fail (Count III)

       Plaintiff contends that Defendants’ Motion should be denied because it presents a fact-

based argument which improperly takes issue with the well-pled allegations of the Complaint.

(Dkt. 21, at 27-28.) Plaintiff has it backwards; it is the absence of factual allegations that dooms

her contract claim.

       Specifically, Plaintiff’s contract claims fail because she is unable to point to a contractual

duty in the Policy that was breached by Millbank (who issued the Policy) or State Auto (who did

not issue the Policy), or to any actual damages that she incurred due to Defendants’ conduct.

Plaintiff does not and cannot point to any provision in the Policy which precludes policyholders

from purchasing additional amounts of coverage for B, D, and E coverages or prohibits Plaintiff

from recovering under those coverages. Her conclusory allegation that Defendants breached the

Policy by “charging illegal premiums for coverage that was already included” (Dkt. 21, at 26,

citing Dkt. 16 at ¶¶138-39) is devoid of any facts supporting that conclusion and is contradicted

by the Policy. See discussion above; see also Vorchheimer v. Philadelphian Owners Association,

903 F.3d 100, 112 (3d Cir. 2018) (if Plaintiff’s “own exhibits contradict her allegations in the

complaint, the exhibits control”). Count III of the Complaint should be dismissed.

       4. Plaintiff has no Right of Private Action Under the UTPCPL (Count IV)

       Plaintiff concedes that in order to bring a private action under the Pennsylvania Unfair

Trade Practices and Consumer Protection Law (“UTPCPL”), the thirteen policies she purchased

must have been for personal, family, or household purposes. (Dkt. 21, at 29-30.) Plaintiff argues



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that she has standing to bring her claim under Section 201-9.2(a) of the UTPCPL because all of

the covered properties are residential homes, not businesses, and the purpose was to create

insurance coverage for a household. (Id.)

       As a threshold matter, Plaintiff’s UTPCPL claim fails because the Complaint does not

allege that the purchase was for personal, family, or household purposes.1 Car Sense, Inc. v.

American Special Risk, LLC, 56 F. Supp. 3d 686, 696-97 (E.D. Oct. 27, 2014) (dismissing Car

Sense’s claim against ASR because “Car Sense has not alleged that it purchased goods for

personal, family, or household purposes”).

       Further, Plaintiff’s creative argument that her purchase was not for business purposes relies

on but badly misstates the decision in Valley Forge Towers South Condominium v. Ron-Ike

Insultors, Inc. 574 A.2d 641, 649 (Pa. Super. Ct. 1990). That case simply held that “a condominium

corporation, acting in a representative capacity, could sue for damages” under the UTPCPL.

Balderston v. Medtronic Sofamor Danek, Inc., 285 F.3d 238, 241 (3d Cir. 2002) (emphasis added),

citing Valley Forge, at 642-43.2 See also Car Sense, 56 F. Supp. 3d at 698 (noting that “Car Sense

has not cited any legal authority for the proposition that a car dealer can sue on behalf of its

customers in a representative capacity” and “[i]ts reliance on Valley Forge is therefore

misplaced”); Bessemer System Federal Credit Union v. Fiserv Solutions, LLC, 472 F. Supp. 3d

142, 178, 179 (W.D. Pa. July 14, 2020) (noting that in Valley Forge, the condominium association

was authorized by statute to sue on behalf of condominium unit owners and “Bessemer has not set


1
  It is telling that Plaintiff does not make this allegation in her Amended Complaint, even though
Defendants’ initial motion to dismiss (that the Amended Complaint was filed in response to) also
argued that she could not bring a UTPCPL claim absent an allegation that the purchase was for
personal, family, or household purposes. (Dkt. 13, at 27-28.)
2
 The other case cited by Plaintiff, Elansari v. Best Buy, 2019 WL 5300194 (Superior Ct. Pa. Oct.
18, 2019), is a non-precedential decision and is in any event inapposite because it involves a
question of whether the purchase of a computer may have had a mixed business purpose.

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forth sufficient facts to support its standing to bring suit in a representative capacity on its

members’ behalf”); DiLucido v. Terminis International, Inc. 450 Pa. Super. 393, 403-04 (1996)

(rejecting UTPCPL claim and noting that plaintiff was “not attempting to bring this action as a

representative of her tenants” but “as the owner of rental income property”) (abrogated on other

grounds by Gregg v. Ameriprise Financial, Inc. 245 A.3d 637, 648 (2021).) Since Plaintiff does

not allege her suit was brought in a representative capacity, her UTPCPL claim must be dismissed.

       5. Plaintiff can Muster no Facts in Support of her Fraud Claim (Count V)

       As discussed in Defendants’ Motion to Dismiss, Plaintiff’s fraud claim is based on the

wholly unsupported conclusion that Defendants induced her to purchase worthless, illusory

coverage – a conclusion that is contradicted by the clear terms of the Policy. Importantly, Plaintiff

offers no explanation (i.e. facts) identifying how Plaintiff was “duped” when she was relying upon

the expertise of a broker and all the broker needed to do was to read the Policy. Instead, Plaintiff

dodges the issue (and her inability to point to any facts supporting her theory) by arguing that

Defendants are making an improper, fact-based argument. (Dkt. 21, at 31.) Likewise, Plaintiff

dismisses as too “fact-based” the absence of any allegations that her broker exercised his legal

duty of care by reviewing the Policy before buying it on Plaintiff’s behalf. Instead, Plaintiff offers

a mysterious, dark arts style argument that Defendants are improperly ignoring “the global effect

of the dark patterns” which allegedly caused reasonable brokers and policy holders to purchase the

additional coverage. (Id.) But Plaintiff’s fraud claim must satisfy the particularity requirements of

Rule 9(b) and fails to meet those requirements. Count V should be dismissed.

       6. Plaintiff does not State a Claim for Unjust Enrichment, Money Had and
          Received, or Constructive Trust (Counts VI, VII, and VIII).

       Plaintiff does not dispute that her equitable claims arise from the thirteen policies or the

principle that those claims should be dismissed unless the validity of the policies is called into



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question. (Dkt. 21, at 31-32.) She argues, however, that a plaintiff is entitled to rescind a contract

due to fraud in the inducement and that the Complaint is replete with allegations that call into

question the validity of the policies as they relate to the added premiums for illusory coverage.

(Id.) But, as the case cited by Plaintiff on this issue states, “a victim of fraud in the inducement has

two options: (1) rescind the contract, or (2) affirm the contract and sue for damages.” Chase v.

Creegan, 2017 WL 1240046, at *4 (Superior Ct. Pa. April 4, 2017) (non-precedential decision).

Plaintiff has chosen the latter course; there is no allegation or prayer for relief asking that the

policies be rescinded or otherwise calling into question the validity of the policies. Accordingly,

Counts VI, VII, and VIII should be dismissed.

        7. Plaintiff’s Claims are Barred by the Filed Rate Doctrine

        Plaintiff argues that the filed rate doctrine does not apply because “there is nothing in the

Amended Complaint that implicates a rate properly filed with, and approved by, any regulatory

body,” and cites a case from the Southern District of Florida in support of her position. (Dkt. 21,

at 32.) The Eastern District of Pennsylvania, however, has held that where the complaint boils

down to an allegation of paying excessive premiums for insurance, “plaintiffs essentially challenge

the DOI’s rate structure.” In re Pennsylvania Title Ins. Antitrust Litigation, 648 F.Supp.2d 663,

682 (E.D. Pa. July 21, 2009). There can be no debate that the gravamen of the Complaint is that

Plaintiff paid too much for her insurance. This claim “runs directly afoul of the nonjusticiability

principle, which protects the DOI’s rate determinations.” Id. As a result, the Complaint is barred

by the filed rate doctrine.

        WHEREFORE, for the foregoing reasons and those set forth in their Motion to Dismiss

and Supporting Memorandum, Defendants State Auto and Millbank request that the Court dismiss

this action and that the dismissal be with prejudice given Plaintiff’s filing of an Amended

Complaint in response to the Defendants’ initial motion to dismiss. (Dkt. 13, 16.)


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                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       On May 24, 2022, I electronically submitted this Reply Memorandum in Support of Motion

to Dismiss with the Clerk of Court for the U.S. District Court of the Eastern District of

Pennsylvania, using the electronic case filing system of the court. I hereby certify that I have served

the following counsel of record electronically or by another manner authorized by Federal Rule of

Civil Procedure 5(b)(2):

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